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8                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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10   RAMIRO GAMBOA,                           )   No. 8:20-cv-00497-GJS
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11
             Plaintiff,                       )   [PROPOSED] ORDER AWARDING
12                                            )   EQUAL ACCESS TO JUSTICE
13                  v.                        )   ACT ATTORNEY FEES AND
                                              )   COSTS
14   ANDREW SAUL,                             )
15   Commissioner of Social Security,         )
                                              )
16
             Defendant.                       )
17                                            )
18           Based upon the parties’ Stipulation for Award and Payment of Attorney
19   Fees:
20           IT IS ORDERED that the Commissioner shall pay attorney fees and
21   expenses the amount of THREE THOUSAND FIVE HUNDRED FORTY-EIGHT
22   DOLLARS and EIGHTEEN CENTS ($3,548.18), and costs under 28 U.S.C.
23   §1920 in the amount of FOUR HUNDRED DOLLARS ($400.00), as authorized
24   by 28 U.S.C. §§ 2412(d), 1920, subject to the terms of the above-referenced
25   Stipulation.
26   DATED: October 19, 2020         ________________________________
                                     GAIL J. STANDISH
27                                   UNITED STATES MAGISTRATE JUDGE
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